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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA ex rel.
 JOSEPH SEIKEL and TERENCE SEIKEL,

             Plaintiffs-Relators,

       v.                                             CIVIL NO. 1:23-CV-01
                                                              (KLEEH)
 DAVID B. ALVAREZ,
 APPLIED CONSTRUCTION SOLUTIONS, INC.,
 ENERGY TRANSPORTATION, LLC,
 ENERGY RESOURCE GROUP, LLC,
 ET360, LLC,
 BEAR CONTRACTING, LLC,
 BEAR UTILITIES, LLC,
 JASON P. HENDERSON, and
 JOHN DOES NOS. 1-50,

             Defendants.


                                    ORDER

       Given the filing of the Amended Complaint, the pending motions
 to dismiss [ECF Nos. 63, 66] are DENIED AS MOOT.           Also pending is
 a motion to stay discovery.          The Court finds that anticipated
 motions to dismiss the Amended Complaint are an insufficient basis
 to stay discovery in this case.        At this juncture, the motion to
 stay is DENIED [ECF No. 77].
       It is so ORDERED.
       The Clerk is DIRECTED to transmit copies of this Order to
 counsel of record.
       DATED: April 11, 2023


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                                    THOMAS S. KLEEH, CHIEF JUDGE
                                    NORTHERN DISTRICT OF WEST VIRGINIA
